                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                     NO.5:08-CR-365-BR-1

UNITED STATES OF AMERICA                     )
                                             )
               vs.                           )
                                             )              ORDER
                                             )
JUAN MIGUEL GARCIA-SOTO,                     )
                                             )
                       Defendant.            )

       This matter comes before this court on the government's request for a 120-day period of

discovery with respect to certain property subject to criminal forfeiture proceedings under 21

U.S.C. § 853. [DE-196].

       On April 6, 2009, Defendant Juan Miguel Garcia-Soto pleaded guilty to, and was thereby

convicted of, conspiracy to possess with intent to distribute more than five kilograms of cocaine,

in violation of21 U.S.C. § 846, and using and carrying a firearm during and in relation to a drug

trafficking crime in violation of 18 U.S.C. § 924(c)(l)(A). [DE-l23, 125]. On August 27,2009,

Defendant entered into a Consent Decree of Forfeiture whereby he stipulated that he was the sole

owner of certain property that he was forfeiting to the United States, including a 2004 Porsche

Cayenne, VIN WP1AB29P84LA63022. [DE-156]. On September 3,2009, based on Defendant's

plea agreement and his Consent Decree of Forfeiture, the government moved the court for the

issuance of a preliminary order of forfeiture of Defendant's property pursuant to 21 U.S.C.§ 853.

[DE-160].

       On September 8, 2009, the court entered a Preliminary Order of Forfeiture against

Defendant, thereby subjecting to forfeiture Defendant's interest in, among other property, the




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2004 Porsche Cayenne, VIN WPIAB29P84LA63022. [DE-166]. Thereafter, on April 30, 2010,

Milly C. Fernandez, filed a petition with the court in which she asserted an interest in the 2004

Porsche Cayenne. [DE-185]. In her petition, Fernandez advised that she owned the vehicle, paid

its insurance, and that the vehicle was registered to Fernandez and titled in her name. Id.

Attached to her petition Fernandez included documentation purportedly supporting her claim to

an interest in the property. Id.

       Title 21 U.S.C. § 853 allows for discovery in order to facilitate the identification and

location of property declared forfeited and to facilitate the disposition of petitions for remission

or mitigation of forfeited property. See 21 U.S.C. § 853(m). Here, the court has entered an order

declaring the Porsche preliminarily forfeited to the United States. In support of its motion, the

government states it needs additional time to conduct discovery as to Fernandez's stated interest

in the property and to otherwise resolve this matter.

        After reviewing the motion and for good cause shown, the government's motion is

ALLOWED and it is hereby ordered the government has ninety (90) days from the date of this

order within which to conduct the requested discovery. A hearing date with respect to

Fernandez's petition, if needed, shall be set after the conclusion of discovery.

       So ordered, this the 30th day of July, 2010.




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